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                                                    Corrected

    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                        (Filed: April 13, 2021)


* * * * * * * * * * * * * *
JEANETTE KUHL on behalf of *
E.K., minor vaccinee,      *                                     UNPUBLISHED
                           *                                     No. 16-1716V
             Petitioner,   *
                           *                                     Special Master Dorsey
v.                         *
                           *                                     Attorneys’ Fees and Costs
                           *
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
             Respondent.   *
* * * * * * * * * * * * * *

Terry A. Dawes, McKeen & Associates, Detroit, MI, for petitioner.
Amy P. Kokot, U.S. Department of Justice, Washington, D.C., for respondent.

                         DECISION ON ATTORNEYS’ FEES AND COSTS1

        On December 29, 2016, Jeanette Kuhl (“petitioner”) filed a petition for compensation on
behalf of her minor child, E.K., under the National Vaccine Injury Compensation Program, 42
U.S.C. §300aa-10, et seq.,2 (“Vaccine Act”). Petitioner alleged that E.K.’s receipt of a rotavirus
vaccine on or about October 28, 2015, caused him to suffer intussusception. On September 19,
2017, the undersigned issued a decision finding that petitioner was entitled to compensation. On
August 3, 2018, the parties filed a proffer, which the undersigned adopted as her decision
awarding compensation on October 6, 2018. (ECF No. 41).
1
  This Decision will be posted on the website of the United States Court of Federal Claims' website, in accordance
with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012). This means the Decision will be available to
anyone with access to the internet. As provided by 44 U.S.C. § 300aa-12(d)(4)B), however, the parties may object
to the published Decision’s inclusion of certain kinds of confidential information. Specifically, Under Vaccine Rule
18(b), each party has 14 days within which to request redaction “of any information furnished by that party: (1) that
is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes medical
filed or similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine
Rule 18(b). Otherwise the whole decision will be available to the public in its current form. Id.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(“Vaccine Act” or “the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.
§§ 300aa.
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        On July 29, 2020, petitioner filed an application for final attorneys’ fees and costs.
Motion for Attorney Fees and Costs (ECF No. 76). Petitioner requests compensation in the
amount of $11,992.75, representing $9,657.75 in attorneys’ fees and $2,265.00 in costs. Fees
App. at 1. Pursuant to General Order No. 9, petitioner warrants that she has not personally
incurred any costs in pursuit of her claim for compensation. Id. Respondent filed his response on
August 3, 2020, indicating that he “is satisfied the statutory requirements for an award of
attorneys’ fees and costs are met in this case.” Response at 2 (ECF No. 77). Petitioner filed a
supplement to her fees motion on January 28, 2021. (ECF No. 81). The matter is now ripe for
disposition.

       For the reasons discussed below, the undersigned GRANTS petitioner’s motion and
awards a total of $11,874.20.

           I.      Discussion

        Under the Vaccine Act, the special master shall award reasonable attorneys’ fees and
costs for any petition that results in an award of compensation. 42 U.S.C. § 300aa-15(e)(1).
When compensation is not awarded, the special master “may” award reasonable attorneys’ fees
and costs “if the special master or court determines that the petition was brought in good faith
and there was a reasonable basis for the claim for which the petition was brought.” Id. at
§15(e)(1). In this case, because petitioner was awarded compensation pursuant to a proffer,
she is entitled to a final award of reasonable attorneys’ fees and costs.

                      a. Reasonable Attorneys’ Fees

         The Federal Circuit has approved use of the lodestar approach to determine reasonable
attorney’s fees and costs under the Vaccine Act. Avera v. Sec’y of Health & Human Servs., 515
F.3d 1343, 1349 (Fed. Cir. 2008). Using the lodestar approach, a court first determines “an
initial estimate of a reasonable attorney’s fee by ‘multiplying the number of hours reasonably
expended on the litigation times a reasonable hourly rate.’” Id. at 1347-58 (quoting Blum v.
Stenson, 465 U.S. 886, 888 (1984)). Then, the court may make an upward or downward
departure from the initial calculation of the fee award based on other specific findings. Id. at
1348.

        Counsel must submit fee requests that include contemporaneous and specific billing
records indicating the service performed, the number of hours expended on the service, and the
name of the person performing the service. See Savin v. Sec’y of Health and Human Servs., 85
Fed. Cl. 313, 316-18 (2008). Counsel should not include in their fee requests hours that are
“excessive, redundant, or otherwise unnecessary.” Saxton v. Sec’y of Health and Human Servs.,
3 F.3d 1517, 1521 (Fed. Cir. 1993) (quoting Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)). It
is “well within the special master’s discretion to reduce the hours to a number that, in [her]
experience and judgment, [is] reasonable for the work done.” Id. at 1522. Furthermore, the
special master may reduce a fee request sua sponte, apart from objections raised by respondent
and without providing a petitioner notice and opportunity to respond. See Sabella v. Sec’y of
Health & Human Servs., 86 Fed. Cl. 201, 209 (2009).
                                                  2
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        A special master need not engage in a line-by-line analysis of a petitioner’s fee
application when reducing fees. Broekelschen v. Sec’y of Health & Human Servs., 102 Fed. Cl.
719, 729 (2011). Special masters may rely on their experience with the Vaccine Program and its
attorneys to determine the reasonable number of hours expended. Wasson v. Sec’y of Health
and Human Servs., 24 Cl. Ct. 482, 484 (Fed. Cl. Nov. 19, 1991) rev’d on other grounds and aff’d
in relevant part, 988 F. 2d 131 (Fed. Cir. 1993). Just as “[t]rial courts routinely use their prior
experience to reduce hourly rates and the number of hours clamed in attorney fee requests …
[v]accine program special masters are also entitled to use their prior experience in reviewing fee
application.” Saxton, 3 F. 3d at 1521.

                                    i. Reasonable Hourly Rates

        Petitioner requests that her attorney, Mr. Terry Dawes, be compensated at $300.00 per
hour for all work performed in the instant case. Mr. Dawes has been licensed to practice law
since 1993, giving him approximately 23 years of legal experience when be began work on this
case in 2016. Upon review, the undersigned finds these rates to be reasonable for Mr. Dawes and
shall award them herein.

                                  ii.     Reasonable Hours Expended

        In reducing an award of fees, the goal is to achieve rough justice, and therefore a special
master may take into account their overall sense of a case and may use estimates when reducing
an award. See Florence v. Sec’y of Health & Human Servs., No. 15-255V, 2016 WL 6459592, at
*5 (Fed. Cl. Spec. Mstr. Oct. 6, 2016) (citing Fox v. Vice, 563 U.S. 826, 838 (2011). It is well
established that an application for fees and costs must sufficiently detail and explain the time
billed so that a special master may determine, from the application and the case file, whether the
amount requested is reasonable. Bell v. Sec'y of Health & Human Servs., 18 Cl. Ct. 751, 760
(1989); Rodriguez, 2009 WL 2568468. Petitioner bears the burden of documenting the fees and
costs claimed. Id. at *8.

       The overall hours spent on this matter appear to be reasonable. The undersigned has
reviewed the billing entries and finds that they adequately describe the work done on the case
and the amount of time spent on that work. None of the entries appear objectionable, nor has
respondent identified any entries as objectionable. Accordingly, petitioner is entitled to a final
award of attorneys’ fees in the amount of $9,657.75.

                       b. Attorneys’ Costs

        Petitioner requests a total of $2,265.00 in attorneys’ costs. This amount is comprised of
acquiring medical records, copying/printing/faxing/scanning expenses, and work performed by
petitioner’s guardianship attorney. Overall, the undersigned has reviewed the requested costs and
finds them to be largely reasonable and supported with appropriate documentation. However, the
costs associated with printing and faxing must be reduced. The records indicate that these tasks
were billed at a rate of $0.25 per page. (ECF No. 81 Ex. 2). However, the Vaccine Program does
                                                   3
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not compensate for the faxing/scanning of documents, as there is no actual cost incurred by these
activities beyond the wear and tear on the office fax machine, which is more properly
categorized as office overhead. Bourche v. Sec’y of Health & Human Servs., No. 15-232V, 2017
WL 2480936, at *5 n.5 (Fed. Cl. Spec. Mstr. May 11, 2017). Additionally, photocopies have
typically been reimbursed at a rate of $0.20 per page. Haynes v. Sec’y of Health & Human
Servs., No. 17-365V, 2020 WL 2500131, at *3 (Fed. Cl. Spec. Mstr. Apr. 21, 2020).

       To account for these issues, the undersigned will therefore reduce the final award of
attorneys’ costs by $48.55. Petitioner is therefore awarded final costs of $2,216.45.

             II.      Conclusion

        Based on all of the above, the undersigned finds that it is reasonable compensate
petitioner and her counsel as follows:

    Attorneys’ Fees Requested                                                     $9,657.75
    (Total Reduction from Billing Hours)                                              -
    Total Attorneys’ Fees Awarded                                                 $9,657.75

    Attorneys’ Costs Requested                                                    $2,265.00
    (Reduction of Costs)                                                          - ($48.55)
    Total Attorneys’ Costs Awarded                                                $2,216.45

    Total Attorneys’ Fees and Costs Awarded                                      $11,874.20

Accordingly, the undersigned awards $11,874.20 in attorneys’ fees and costs, in the form of
a check payable jointly to petitioner and petitioner’s counsel, Mr. Terry Dawes.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with this decision.3

          IT IS SO ORDERED.

                                                               s/Nora Beth Dorsey
                                                               Nora Beth Dorsey
                                                               Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice renouncing
the right to seek review.
                                                          4
